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     Attorney for Defendant
 9   DALE SCHAFER
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12                                        UNITED STATES DISTRICT COURT
13                                      EASTERN DISTRICT OF CALIFORNIA
14
                                               SACRAMENTO DIVISION
15
16    UNITED STATES OF AMERICA,
                                                             No. CR.S-05-0238-GEB
17                     Plaintiff,                            STIPULATION AND ORDER
                                                             VACATING 11/2/17 HEARING DATE
18                                                           AND SETTING IT ON 11/30/17
                  v.
19
      DALE SCHAFER,
20
21                 Defendant.
      _________________________________/
22
23           The United States of America, by and through its counsel, and the defendant Dale Schaffer,
24   by and through his counsel of record, hereby stipulate to the following:
25           1)    Defendant’s Motion to modify terms of probation was set on calendar for November 7,
26   2017.
27           2)    The Court vacated the November 7 date and the parties are now scheduled to appear
28   before the Court on November 2, 2017 at 10:00 a.m. for a hearing on Defendant’s motion.




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 1          3)   Counsel for the plaintiff and defendant have agreed to a rescheduling of this matter, to a
 2   mutually available date for a hearing, to be held on Thursday, November 30 at 10:00 a.m.
 3          4)   Based on the foregoing, the parties respectfully request this Court to continue the
 4   hearing to November 30, 2017 at 10:00 a.m.
 5          5)   Additionally, the parties stipuate to the following briefing schedule: a) the Government’s
 6   response, or statement of non-opposition will be filed on or before November 16, 2017; b)
 7   Defendant’s reply, if any, to be filed on or before November 23, 2017.
 8
 9   SO STIPULATED.
10
     DATED: October 26, 2017                               /s/ Cameron Desmond              ,
11                                                         CAMERON DESMOND
                                                           Assistant United States Attorney
12
13   DATED: October 26, 2017                               /s/ James Clark                  ,
14                                                         JAMES CLARK
                                                           Attorney for Dale Schafer
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                                                    ORDER
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 3          Good cause having been shown, it is hereby ordered that the hearing previously set for
 4   November 2, 2017 at 10:00 a.m. is continued to November 30, 2017 at 10:00 a.m. The Government
 5   shall file it’s response, or statement of non-opposition will be filed on or before November 16, 2017,
 6   and Defendant’s reply, if any, shall be filed on or before November 23, 2017.
 7      IT IS SO ORDERED.
 8   Dated: October 30, 2017
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